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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11    DANIEL SCHWARTZ,                            Case No. LA CV 19-06249-SPG-RAO
12                            Plaintiff,          ORDER GRANTING DEFENDANT’S
                                                  MOTION FOR SUMMARY
13                  v.                            JUDGMENT; DENYING
14    BAI BRANDS, LLC, a New Jersey               PLAINTIFF’S MOTION FOR
                                                  SUMMARY JUDGMENT; AND
15    Limited Liability Company,                  GRANTING DEFENDANT’S
16                            Defendant.          APPLICATION TO FILE DOCUMENT
                                                  UNDER SEAL [ECF NOS. 108, 109]
17
18          Before the Court are Plaintiff Daniel Schwartz’s (“Plaintiff”) and Defendant Bai
19    Brands, LLC’s (“Defendant”) Cross Motions for Summary Judgment. (ECF No. 108).
20    Both parties submitted supplemental memoranda in support of their motions. (ECF Nos.
21    112, 113). The Court heard oral argument on August 10, 2022, and took the matter under
22    submission.    (ECF No. 118).    For the reasons stated below, the Court GRANTS
23    Defendant’s Motion for Summary Judgment and DENIES Plaintiff’s Motion for Summary
24    Judgment. The Court also GRANTS Defendant’s application to file document under seal.
25    (ECF No. 109).
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 1    I.    BACKGROUND
 2          A.     Factual Background
 3          The following summarized facts are uncontroverted, unless otherwise stated. See
 4    (ECF No. 108-2 (Statement of Uncontroverted facts “SUF”)). 1
 5          On October 5, 2018, Plaintiff purchased a bottle of Bai Cocofusion at a Ralph’s
 6    grocery store for $2.05. (SUF D7, D8, D9, D11). At the time of purchase, Defendant sold
 7    four flavor varieties of Bai beverages, “Andes Coconut Lime”; “Puna Coconut Pineapple”;
 8    “Maui Coconut Raspberry”; 2 and “Malawi Coconut Mango” (collectively, the “Beverages”
 9    or “Cocofusion beverages”). (SUF P1). Plaintiff purchased Defendant’s “Andes Coconut
10    Lime” Cocofusion beverage because the front-facing label caused him to believe it
11    contained lime. (SUF P10). Plaintiff has never purchased any other variety. (SUF D25).
12    The front labels on the Cocofusion beverages display the image of a split-open coconut
13
14    1
        When determining a motion for summary judgment, the Court only considers evidence
15    admissible at trial, though the form may differ at the summary judgment stage. Godinez v.
16    Alta-Dena Certified Dairy LLC, No. CV 15-01652 RSWL (SSx), 2016 WL 6915509, at *3
      (C.D. Cal. Jan. 29, 2016). The Court has reviewed the entire record, including the parties’
17    SUF, objections, and evidence. The Court discusses only the facts that are relevant to its
18    decision. The Court notes that some of the parties’ purportedly disputed facts are not
      actually controverted by the evidence. For example, Defendant made a plain statement of
19
      the fact that “[t]he deadline to move for class certification was on November 9, 2020,”
20    which is evident from the record. See (SUF D44; ECF No. 53). Instead of stating that fact
21    is undisputed, Plaintiff offered a protracted statement regarding the reasons why he did not
      move for class certification, some of which are incorporated by reference from other
22    responses, and concludes that he is the prevailing party. See (D44, Plaintiff’s Response).
23    And this is just one of several examples. In those instances where a party has failed to
      properly address the other party’s assertion of fact, as is required by Rule 56(c), the Court
24    considers those facts undisputed for purposes of the motions. See Fed. R. Civ. P. 56(e)(2);
25    L.R. 56-3. Further, it is not the Court’s practice to rule on each objection individually, nor
26    is it required to do so. To the extent that the Court relies on evidence that is the subject of
      an objection, the Court overrules the objection. To the extent the Court does not rely on
27    evidence objected to by the parties, the objections are overruled as moot.
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      2
        Defendant discontinued the Bai Cocofusion Maui Coconut Raspberry flavor in 2018.
      (SUF D26, P16).


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 1    alongside the other secondary fruits (e.g., lime, pineapple, and mango). (SUF P1, P3, P5).
 2    The Beverages list the primary flavor, coconut, as an ingredient. (SUF D28). Lime,
 3    pineapple, and mango are not included on the Beverages’ ingredient lists. (SUF P2, P4,
 4    P5).
 5           In January 2017, Dr Pepper Snapple Group (“DPSG”), acquired Bai and began
 6    reviewing the Beverages’ labels. (SUF D89; Ex. D1 ¶ 5). On or about September 2017,
 7    Defendant’s regulatory group “decided to add the word ‘Flavored’ after the named fruit(s)
 8    on the front panel of the label” for both the Cocofusion beverages as well as Bai Bubbles,
 9    a similar beverage product line. (SUF Ex. D1 ¶ 6). That same month, Defendant approved
10    finished labels for Bai Bubbles including the word “Flavored” on the front panel. (SUF
11    Ex. D1 ¶ 7; Ex. D1 at 10–13). Defendant waited to update the Cocofusion beverages’
12    labels because, at that time, Defendant was updating the Beverages’ formulas, and
13    therefore sought to make all the changes to the Cocofusion beverages at once to “avoid
14    introducing multiple new versions of the product labels within a short timeframe.” (SUF
15    Ex. D1 ¶ 9).
16           On February 28, 2019, once the formula update was complete, Defendant issued a
17    Label Information Note (“LIN”) for the Puna Coconut Pineapple flavor. (SUF D100,
18    D101). A LIN generally consists of new proposed language for a product’s label and
19    ingredients. (SUF D100). On April 10, 2019, Defendant issued LINs for the Coconut
20    Lime and Malawi Coconut Mango flavors. (SUF D100–D103). The Cocofusion LINs
21    proposed adding the word “Flavored” to the Beverages’ labels. (SUF D95, D99–D103).
22    Defendant issued the finalized labels for the Cocofusion beverages with the addition of the
23    word “Flavored” on or about July 16, 2019. (SUF D104).
24           Cocofusion beverages displaying the updated labels with the word “Flavored” were
25    available on retail shelves in California by the end of January 2020. (SUF D107).
26    Currently, the Beverages’ labels include the word “Flavored,” and read as “Coconut Lime
27    Flavored,” “Coconut Pineapple Flavored,” and “Coconut Mango Flavored.” (SUF D108,
28    P13, P14, P15, P17).



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 1             B.    Procedural History
 2             On July 10, 2019, Plaintiff filed this putative class action against Bai Brands, LLC
 3    and Dr. Pepper Snapple Bottling Group. (ECF No. 1). Subsequently, Plaintiff filed the
 4    operative Second Amended Complaint (“SAC”) against only Bai, asserting claims for
 5    violations of California’s: (1) Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code
 6    §§ 1750, et seq.; (2) False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et
 7    seq.; and (3) Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.
 8    See (ECF No. 37, SAC ¶¶ 61–93). In the SAC, Plaintiff sought declaratory and injunctive
 9    relief, restitution, and damages. See (id. ¶¶ 22–23).
10             The deadline for Plaintiff to move for class certification was November 9, 2020.
11    (ECF No. 53). Plaintiff did not move for class certification by that deadline. (SUF D45;
12    ECF No. 90). Instead, on November 9, 2020, Plaintiff filed a status report stating that he
13    had decided to forego moving for class certification. (ECF No. 90; SUF D44, D45; Ex. D6
14    ¶ 14).
15             On September 2, 2020, Plaintiff filed a motion for attorney fees pursuant to
16    California Code of Civil Procedure (“CCP”) section 1021.5. (ECF No. 80). On November
17    24, 2020, Defendant moved for summary judgment. (ECF No. 92). On September 17,
18    2021, the Court denied both motions without prejudice, requested the parties refile their
19    respective motions as cross-motions for summary judgment, and specifically requested that
20    the parties “address, with citations to evidence, whether [P]laintiff is the prevailing party.”
21    (ECF No. 105).
22             On November 19, 2021, both parties filed cross-motions for summary judgment.
23    (ECF No. 108). On December 9, 2021, both parties submitted supplemental memoranda
24    in support of their motions. (ECF Nos. 112, 113). Although Plaintiff does not expressly
25    renew his previously filed request for the award of attorney’s fees under CCP § 1021.5, he
26    states in a footnote that he filed his Motion for Summary Judgment to adjudicate the issue
27    of whether Plaintiff is the prevailing party. See (ECF No. 113 at 1 n.2).
28



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 1           The Court heard oral argument on August 10, 2022, and thereafter took the matter
 2    under submission. (ECF No. 118 (the “August 2022 Hearing”)).
 3    II.    LEGAL STANDARD
 4           Summary judgment is appropriate where the pleadings, discovery, and affidavits
 5    show there is “no genuine dispute as to any material fact and the movant is entitled to
 6    judgment as a matter of law.” See Fed. R. Civ. P. 56(a). Material facts are those that may
 7    affect the outcome of the case. See Nat’l Ass’n of Optometrists & Opticians v. Harris, 682
 8    F.3d 1144, 1147 (9th Cir. 2012). A dispute over a material fact is genuine “if the evidence
 9    is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson
10    v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
11           For the purposes of summary judgment, a court must view the evidence in the light
12    most favorable to the nonmoving party. See Leslie v. Grupo ICA, 198 F.3d 1152, 1158
13    (9th Cir. 1999). The court’s function at this stage is not to make credibility determinations
14    or weigh conflicting evidence with respect to a disputed material fact. See T.W. Elec. Serv.,
15    Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). However, a
16    principal purpose of summary judgment is “to isolate and dispose of factually unsupported
17    claims.” Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). Therefore, a court must
18    grant summary judgment “against a party who fails to make a showing sufficient to
19    establish the existence of an element essential to that party’s case, and on which that party
20    will bear the burden of proof at trial . . . since a complete failure of proof concerning an
21    essential element of the nonmoving party’s case necessarily renders all other facts
22    immaterial.” Id. at 322–23.
23    III.   DISCUSSION
24           Plaintiff moves for summary judgment arguing he is entitled to a permanent
25    injunction correcting the front-facing label on Defendant’s Cocofusion Beverages.
26    Plaintiff also asserts that he is the prevailing party. Defendant moves for summary
27    judgment arguing Plaintiff lacks Article III standing to obtain a permanent injunction;
28    Plaintiff has failed to establish a violation of the applicable Food and Drug Administration



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 1    regulation; Plaintiff’s state law claims are preempted by federal law; and Plaintiff failed to
 2    present evidence that reasonable consumers are likely to be deceived. (Id. at 35-44). For
 3    the reasons set forth below, the Court finds Plaintiff lacks Article III standing and grants
 4    summary judgment in favor of Defendant. 3 The Court therefore denies as moot Plaintiff’s
 5    motion for summary judgment, insofar as it argues Plaintiff is entitled to injunctive relief.
 6    The Court also rejects Plaintiff’s assertion that he is the prevailing party. The Court will
 7    address each issue in turn.
 8          A.     Defendant is Entitled to Summary Judgment Due to Plaintiff’s Lack of
 9                 Article III Standing
10          Article III of the United States Constitution limits the jurisdiction of federal courts
11    to “Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. The doctrine of standing is
12    “an essential and unchanging part of the case-or-controversy requirement of Article III.”
13    Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).                To satisfy the “irreducible
14    constitutional minimum of standing,” a plaintiff bears the burden of establishing three
15    elements: (1) the plaintiff suffered an injury in fact; (2) the injury is fairly traceable to the
16    defendant’s challenged conduct; and (3) the injury is likely redressable by a court’s
17    favorable decision. Id. at 561-562; see also Davidson v. Kimberly-Clark Corp., 889 F.3d
18    956, 967 (9th Cir. 2018). The three elements are not mere pleading requirements, but rather
19    an indispensable part of the plaintiff’s case. Lujan, 504 U.S. at 561. “A plaintiff must
20    demonstrate constitutional standing separately for each form of relief requested.”
21    Davidson, 889 F.3d at 967.
22          At each stage of a suit, each element must “be supported in the same way as any
23    other matter on which the plaintiff bears the burden of proof, i.e., with the manner and
24    degree of evidence required at the successive stages of the litigation.” Lujan, 504 U.S. at
25    561. Hence, “[a]t the pleading stage, general factual allegations of injury resulting from
26    the defendant’s conduct may suffice.” Id.; see also Maya v. Centex Corp., 658 F.3d 1060,
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      3
       For this reason, the Court does not reach Defendant’s remaining arguments in support of
      summary judgment.


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 1    1068 (9th Cir. 2011). Whereas in response to a summary judgment motion, “the plaintiff
 2    can no longer rest on such ‘mere allegations,’ but must ‘set forth’ by affidavit or other
 3    evidence ‘specific facts,’” which are to be taken as true for purposes of summary judgment.
 4    Lujan, 504 U.S. at 561 (citing Fed. R. Civ. P. 56(e)).
 5          Here, Plaintiff’s counsel confirmed at the August 2022 Hearing that the only remedy
 6    Plaintiff seeks at this stage is injunctive relief. (ECF No. 118). The Court finds that
 7    Plaintiff has not made the requisite showing of either an injury in fact or redressability to
 8    maintain Article III standing for such relief.
 9                1.      Injury in Fact
10          Injunctive relief, which Plaintiff seeks, is a prospective remedy. See Davidson, 889
11    F.3d at 967. Thus, a party seeking such relief must show the threat of injury is “actual and
12    imminent, not conjectural or hypothetical.” Id. (internal quotation omitted). “In other
13    words, the threatened injury must be certainly impending” and “allegations of possible
14    future injury are not sufficient.” Id. (internal quotations omitted, emphasis in original). If
15    “standing is premised entirely on the threat of repeated injury, a plaintiff must show a
16    sufficient likelihood that he will again be wronged in a similar way.” Id.
17          In support of its summary judgment motion, Defendant argues that Plaintiff cannot
18    seek injunctive relief because Plaintiff testified he does not intend to purchase the
19    Beverages in the future. (SUF D80). Defendant points to the following testimony from
20    Plaintiff’s deposition:
             Q:     Do you ever intend to buy [Coconut Lime Cocofusion] again in the
21                  future?
22           A:     No.
23           Q:     Would you, even if the label said or the advertisement said, ‘We have
                    no lime,’ would you be then interested in buying and consuming the
24                  product?
25           A:     A product labeled lime that also claims to have no lime?
             Q:     No, I’m saying a label that says yes, it’s lime flavored but does not have
26                  lime.”
27                  ...
             A:     No.
28



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 1          Q:     So even with that label change, you still would not be interested in
                   buying it?
 2                 ...
 3          A:     Correct.
                   ...
 4
            A:     Can I say something? This whole situation has soured me on the
 5                 product line Bai.
 6          Q:     Are you inclined not to buy any Bai products going forward beyond just
                   this one?
 7          A:     That’s correct.
 8                 …
            A:     So I think if - - if I picked up the bottle and it said “Andes coconut lime
 9                 flavored”; right, I mean I probably wouldn’t have bought it then.
10
      (SUF D80, D81, D83; Ex. D6 at 103, 104, 122, 125 (emphasis added)).4
11
            In response, Plaintiff argues that his personal feelings and intentions are irrelevant
12
      because this is a putative class action and “there is no admissible evidence that other
13
      members of the putative class are not likely to be misled.” (ECF No. 113 at 12). However,
14
      this is not a class action. The deadline for filing a motion for class certification was
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      November 9, 2020, and, on that day, Plaintiff filed a status report stating he would not be
16
      moving to certify a class of consumers. (ECF Nos. 53, 90; D44, D45; Ex. D6 ¶ 14). Under
17
      the circumstances, Plaintiff’s own feelings and intentions are very much relevant to
18
      establish Article III standing under Davidson.5
19
20    4
        In the SAC, Plaintiff alleged he was deceived by defendant’s labeling, and “would like to
21    and does intend to purchase the [Cocofusion beverages] in the future, but is concerned
      about the inability to rely on the labeling of the Beverages.” See (SAC ¶¶ 11, 49). The
22    Court found these allegations sufficient to survive a motion to dismiss. (ECF No. 77 at 10-
23    12). However, since that motion Plaintiff has unequivocally stated in his deposition
      testimony that he will not purchase a Cocofusion beverage in the future.
24    5
        Plaintiff also mistakes statutory standing with Article III standing. (ECF No. 113 at 6
25    (“As a person who purchased a product that he would not have purchased if the product
26    had been properly labeled, . . . Plaintiff demonstrates his economic injury gives him
      standing.”)). While Plaintiff’s injury may be sufficient to confer standing under the UCL,
27    FAL, and CLRA, the issue before the Court is whether Plaintiff demonstrated “a sufficient
28    likelihood that he will again be wronged in a similar way” to satisfy Article III standing to
      pursue a claim for injunctive relief. See Davidson, 889 F.3d at 967. Because the Court


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 1          The Ninth Circuit’s decision in Lanovaz v. Twinings North America, Inc., 726 F.
 2    App’x 590 (9th Cir. 2018) is instructive. There, the Ninth Circuit affirmed a district court’s
 3    order granting summary judgment in a false-advertising suit for lack of standing. The
 4    Ninth Circuit explained that while “‘a previously deceived plaintiff’ suing under the UCL,
 5    FAL, and CLRA ‘may have standing to seek injunctive relief,’ the plaintiff must still show
 6    ‘that she faces an imminent or actual threat of future harm caused by [the defendant’s]
 7    allegedly false advertising.’” Id. (citing Davidson, 889 F.3d at 970). The plaintiff admitted
 8    at her deposition that she would not purchase the defendant’s products again, “even if the
 9    company removed the allegedly misleading labels.” Id. at 591. The Ninth Circuit held that
10    she thus lacked standing despite conflicting evidence that she may “consider buying” the
11    products in the future. Id. (citing Lujan, 504 U.S. at 564 (A “‘some day’ intention[ ]—
12    without any description of concrete plans, or indeed even any specification of when the
13    some day will be—do[es] not support a finding of the ‘actual or imminent’ injury that”
14    Article III requires) (emphasis in original)); see also Carney v. Adams, 141 S. Ct. 493, 502
15    (2020) (“an injury in fact requires an intent that is concrete.”).
16          Similarly, in Guzman v. Polaris Industries Inc., No. 8:19-cv-01543-FLA (KESx),
17    2021 WL 2021454, at *10–11 (C.D. Cal. May 12, 2021), the district court found a
18    plaintiff’s testimony that “he likely would not have purchased the [product] if he had to do
19    it all over again” was not enough to satisfy Article III standing. Relying on Lanovaz, the
20    court granted summary judgment because there was “no sufficient likelihood [plaintiff]
21    would purchase another [product] and again be wronged in a similar way.” Id. (internal
22    quotation omitted). See also Rodriguez v. Just Brands USA, Inc., No. 2:20-CV-04829-
23    ODW (PLAx), 2021 WL 1985031, at *4-5 (C.D. Cal. May 18, 2021) (finding allegation
24    that plaintiff “‘may’ purchase the product in the future” was insufficient to confer Article
25    III standing); Hanna v. Walmart Inc., No. 5:20-cv-01075-MCS-SHK, 2020 WL 7345680,
26    at *7 (C.D. Cal. Nov. 4, 2020) (finding plaintiff’s claim that she “may purchase” the
27
28    finds that Plaintiff lacks Article III standing, it does not address whether Plaintiff has
      statutory standing under the UCL, FAL, or CLRA.


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 1    product if it was reformulated insufficient for standing); Anthony v. Pharmavite, No. 18-
 2    CV-02636-EMC, 2019 WL 109446, at *6 (N.D. Cal. Jan. 4, 2019) (same).
 3          Here, Plaintiff repeatedly stated in his deposition testimony that he will not purchase
 4    a Cocofusion beverage in the future. (SUF D80, D81, D83, Ex. D6-E). Plaintiff’s stated
 5    intent is far more definitive than in Lanovaz or Guzman. He has given no indication of any
 6    desire to purchase the Beverages again, let alone the requisite concrete intent to sustain
 7    Article III standing. Accordingly, Plaintiff has not shown that he will “again be wronged
 8    in a similar way” to demonstrate the requisite injury in fact for standing purposes. See
 9    Davidson, 889 F.3d at 967.6
10                 2.     Redressability7
11          Similarly, the Court finds that Plaintiff has not satisfied his burden of establishing
12    that a favorable decision by this Court would redress Plaintiff’s alleged injury.
13
14
      6
        Plaintiff cites to Henderson v. Gruma Corporation, No. CV 10-04173 AHM (AJWx),
      2011 WL 1362188 (C.D. Cal. Apr. 11, 2011) to argue that “[i]t is irrelevant that Plaintiff
15    may not be at risk of future harm because Plaintiff is seeking to maintain the relief he has
16    already achieved.” (ECF No. 113 at 12). The court in Henderson found that plaintiffs had
      standing as representatives of a class action where the defendant had not “presented
17    evidence or even alleged that it has removed its allegedly misleading advertising from its
18    products.” 2011 WL 1362188, at *8. Even though the plaintiffs knew the truth about
      defendant’s products, the court recognized that “as representatives of a class,” they should
19
      “be entitled to pursue injunctive relief on behalf of all consumers.” Id. Here, contrary to
20    the facts in Henderson, Plaintiff has no intention of purchasing the Beverages in the future
21    and does not represent a class of consumers. Plaintiff reliance on Henderson is therefore
      misplaced. See Lanovaz, 726 F. App’x at 591. Plaintiff’s reliance on Fortyne v. American
22    Multi-Cinema, Inc., No. CV0105551NMJWJX, 2002 WL 32985838 (C.D. Cal. Oct. 22,
23    2002) fails for a similar reason. In Fortyne, the court found plaintiff had Article III standing
      to because his “intent to return to Defendant’s theater [wa]s undisputed” and therefore he
24    faced imminent future harm. Id. at *7. Here, in contrast, Plaintiff does not intend to
25    purchase any of the Beverages again in the future.
26
      7
        Plaintiff must satisfy all three elements of Article III standing. See Lujan, 504 U.S. at
      560. Because the Court finds that Plaintiff cannot demonstrate a sufficient likelihood of
27    future injury, it need not address whether his injury is likely redressable by a favorable
28    decision. Nonetheless, for the sake of completeness, the Court considers whether Plaintiff
      satisfies the redressability element for Article III standing.


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 1          The Article III case or controversy requirement prevents federal courts from
 2    deciding “questions that cannot affect the rights of litigants in the case before them.” Lewis
 3    v. Cont’l Bank Corp., 494 U.S. 472, 477 (1990) (internal quotation marks and citation
 4    omitted). Where a federal court cannot redress the plaintiff’s injury with a favorable
 5    decision, the case is considered moot and must be dismissed. See, e.g., Uzuegbunam v.
 6    Preczewski, 141 S. Ct. 792, 801 (2021) (“[N]o federal court has jurisdiction to enter a
 7    judgment unless it provides a remedy that can redress the plaintiff’s injury.”). A case
 8    becomes moot “when the parties lack a legally cognizable interest in the outcome.”
 9    Johnson v. Rancho Santiago Cmty. Coll. Dist., 623 F.3d 1011, 1020 (9th Cir. 2010)
10    (internal quotation marks and citation omitted). A federal action should be “dismissed as
11    moot when, by virtue of an intervening event,” a federal court cannot grant “any effectual
12    relief” in favor of the party seeking relief. See Calderon v. Moore, 518 U.S. 149, 150
13    (1996); Friends of the Earth, Inc. v. Laidlaw Envtl. Serv. (TOC), Inc., 528 U.S. 167, 180–
14    81 (2000) (it must be “likely, as opposed to merely speculative, that the injury will be
15    redressed by a favorable decision.”).
16          Here, Plaintiff initially sought monetary and injunctive relief. See (SAC, Prayer for
17    Relief). However, since learning that Defendant added the word “Flavored” to the
18    Cocofusion beverages, Plaintiff has stated numerous times that he “is no longer seeking
19    any remedy from this Honorable Court.” 8 (ECF No. 92-1 at 30). Specifically, Plaintiff
20
21    8
        The Court finds that Plaintiff’s assertions in briefs qualify as judicial admissions. See
22    Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988) (en banc)
23    (“statements of fact contained in a brief may be considered admissions of the party in the
      discretion of the district court.”); see also Gospel Missions of Am. v. City of L.A., 328 F.3d
24    548, 557 (9th Cir. 2003) (“We have discretion to consider a statement made in briefs to be
25    a judicial admission, binding on both this court and the trial court.”) (internal citations
26    omitted). “For purposes of summary judgment, the courts have treated representations of
      counsel in a brief as admissions even though not contained in a pleading or affidavit.” Id.;
27    see also Miramontes v. Mills, No. CV 11-8603 MMM (SSx), 2015 WL 7566491, at *3 n.25
28    (C.D. Cal. Nov. 24, 2015) (“District courts in this circuit have consistently applied this
      doctrine in the context of motions for summary judgment.”).


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 1    asserts that he no longer seeks damages. See (id. at 4 (“Plaintiff Schwartz was not
 2    interested in two dollars in damages”); SUF D32 (“Because Defendant has made the
 3    changes Plaintiff requested in his Demand Letter, and prayed for in his Complaint, First
 4    Amended Complaint and Second Amended Complaint, Plaintiff is no longer pursuing
 5    monetary damages”)). And Plaintiff’s counsel again confirmed during the August 2022
 6    Hearing that Plaintiff does not seek monetary relief. Moreover, Plaintiff has repeatedly
 7    acknowledged that the relief he seeks through an injunction has already been achieved.
 8    (ECF No. 108-1 at 21 (“Plaintiff has personally approved of the change Bai has made to
 9    its advertising practices and is satisfied that the current change to the front-facing labels on
10    the packaging of Bai’s Cocofusion beverages accomplishes what he set out to do by
11    commencing and prevailing in this action”); SUF P59 (“The relief sought in Plaintiff’s
12    Second Amended Complaint has been achieved by Defendant’s change in the labels of
13    Defendant’s Cocofusion beverages.”); SUF D109 (“It is without dispute, that the change
14    on Defendant’s front-facing labels on the bottle of Defendant’s Cocofusion products
15    satisfies Plaintiff and is exactly the primary relief sought by Plaintiff . . . .”).
16           Nevertheless, Plaintiff cites to recent screenshots of Cocofusion labels on
17    Defendant’s website that do not have the newly added word, “Flavored” (SUF Exs. P3,
18    P32, P33, P34; ECF No. 113 at 9), and argues that the “online advertisements demonstrate
19    that Bai continues to use its prior, unlawful front-facing labels in advertising its Cocofusion
20    beverages.” (ECF No. 108-1 at 55). In response, Defendant contends that the Court should
21    not consider newly offered evidence of Defendant’s website because Plaintiff never
22    produced or disclosed the purported online advertisements in discovery, and Plaintiff did
23    not see or rely on any online advertisements before he purchased his Cocofusion beverage.
24    The Court agrees that Plaintiff, acting in a non-representative capacity as the sole consumer
25    of Defendant’s Cocofusion Beverages in this suit, cannot challenge online advertisements
26    that he never saw and upon which he never relied.
27           “[C]onsumers seeking to recover damages under the CLRA based on a fraud theory
28    must prove ‘actual reliance’ on the misrepresentation and harm.” Sateriale v. R.J. Reynolds



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 1    Tobacco Co., 697 F.3d 777, 794 (9th Cir. 2012). Similarly, because FAL and UCL claims
 2    centered on a misrepresentation are “based on a fraud theory involving false advertising
 3    and misrepresentations to consumers,” a plaintiff “must demonstrate actual reliance on the
 4    allegedly deceptive or misleading statements, in accordance with well-settled principles
 5    regarding the element of reliance in ordinary fraud actions.” Kwikset Corp. v. Sup. Ct., 51
 6    Cal. 4th 310, 326-27 (2011) (internal quotations omitted). Courts have recognized there
 7    can be no actual reliance where the buyer did not see an alleged misrepresentation before
 8    purchasing the product. See Brazil v. Dole Packaged Foods, LLC, 660 F. App’x 531, 533-
 9    34 (9th Cir. 2016) (holding claims were properly dismissed because the plaintiff did not
10    see the allegedly offending statements before he purchased the product); Durell v. Sharp
11    Healthcare, 183 Cal.App.4th 1350, 1363 (2010) (holding there was no reliance where
12    “SAC [did] not allege [plaintiff] ever visited [defendant’s] Web site”). Accordingly, a
13    party may not challenge statements or advertisements that he never saw. See Ham v. Hain
14    Celestial Grp., Inc., 70 F. Supp. 3d 1188, 1197 (N.D. Cal. 2014).
15          In the present case, Plaintiff has not identified any online advertisements in the SAC
16    and does not claim that he saw any online advertisement regarding the Beverages before
17    he purchased the Coconut Lime Cocofusion beverage at a Ralph’s grocery store. To the
18    contrary, Plaintiff asserts that he “purchased Defendant’s Cocofusion ‘Andes Coconut
19    Lime’ beverage . . . because the front-facing label caused him to believe it contained lime.”
20    (SUF P10). Further, the screenshots of online advertisements were purportedly taken by
21    Plaintiff’s counsel on November 4, 2021, more than three years after Plaintiff purchased
22    the Beverage.    (SUF Ex. P3 at 12-20).        Additionally, in response to Defendant’s
23    interrogatory requests, Plaintiff did not identify any online marketing, advertisements, or
24    promotions Plaintiff had seen, heard, or read prior to his purchase of the Cocofusion
25    beverage. (SUF Ex. D6 at 376). Although Plaintiff’s counsel argued during the August
26    2022 Hearing that Plaintiff was “duped” into thinking that Defendant corrected its labels
27    because Defendant continues to advertise the Cocofusion beverages online without the
28    word “Flavored,” (ECF No. 118), counsel also confirmed that Plaintiff only reviewed the



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 1    Cocofusion beverages’ printed labels before his purchase and neither saw nor relied on any
 2    advertisements.       Accordingly,    Plaintiff     cannot   challenge   Defendant’s       online
 3    advertisements because he provides no evidence that he ever saw them. See Phillips v.
 4    Apple Inc., No. 15-CV-04879-LHK, 2016 WL 1579693, at *7 (N.D. Cal. Apr. 19, 2016)
 5    (“If Plaintiffs did not view Apple’s statement until after suffering injury, then viewing the
 6    statement could not have been the ‘immediate cause’ of the injury.”).
 7          In sum, given Plaintiff’s repeated admissions that he is satisfied with Defendant’s
 8    new labels and does not seek monetary damages, the remedy he seeks from the Court likely
 9    would not redress his alleged injury. Therefore, Plaintiff’s has not satisfied his burden of
10    demonstrating the element of redressability, and his claim must be dismissed for lack of
11    Article III standing. See Uzuegbunam, 141 S. Ct. at 801 (“Because redressability is an
12    irreducible component of standing, no federal court has jurisdiction to enter a judgment
13    unless it provides a remedy that can redress the plaintiff's injury”) (internal quotations and
14    citation omitted).
15          B.     Plaintiff is Not a “Prevailing” or “Successful Party”
16          Plaintiff moves for summary judgment arguing that he is entitled to injunctive relief9
17    and that he is the “prevailing party.” It should be noted that Plaintiff has not expressly
18    renewed his previously filed motion for attorney’s fees under CCP § 1021.5. Nevertheless,
19    because the Court is granting Defendant’s motion for summary judgment and Plaintiff
20    argues he is the prevailing party, the Court finds this issue ripe for determination. 10
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        Because the Court finds that Plaintiff lacks standing, the Court declines to consider the
      merits of Plaintiff’s motion for summary judgment, insofar as it seeks injunctive relief. See
24    Friery v. L.A. Unified Sch. Dist., 448 F.3d 1146, 1148 (9th Cir. 2006) (“As standing
25    implicates Article III limitations on our power to decide a case, we must address it before
26    proceeding to the merits.”).
      10
         See Sengupta v. City of Monrovia, No. CV 09-00795 ABC SHX, 2010 WL 3368438, at
27    *3 (C.D. Cal. Aug. 25, 2010) (“It is a fair reading of the statutory language regarding ‘a
28    successful party’ and ‘any action which has resulted’ that an award of attorney’s fees
      pursuant to [§ 1021.5] is premature if the action is still unresolved.”) (citation omitted);


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 1          California Code of Civil Procedure section 1021.5 provides that, if certain criteria
 2    are met, “[u]pon motion, a court may award attorneys’ fees to a successful party against
 3    one or more opposing parties in any action which has resulted in the enforcement of an
 4    important right affecting the public interest.” “When California plaintiffs prevail in federal
 5    court on California claims, they may obtain attorneys’ fees under section 1021.5.” Klein
 6    v. City of Laguna Beach, 810 F.3d 693, 701 (9th Cir. 2016); see also Mangold v. Cal. Pub.
 7    Utils. Comm’n, 67 F.3d 1470, 1478 (9th Cir.1995). “To determine whether a party is
 8    ‘successful,’ courts look at the outcome the parties sought in commencing the action, the
 9    situation before the party commenced the suit, and the situation today.” People v. Investco
10    Mgmt. & Dev. LLC, 22 Cal. App. 5th 443, 458 (2018). A plaintiff may be a motivating
11    “catalyst” if it “achieves its litigation objectives by means of defendant’s ‘voluntary’
12    change in conduct in response to the litigation.” Graham v. DaimlerChrysler Corp., 34
13    Cal. 4th 553, 572 (2005).
14          To demonstrate one is a “prevailing” or “successful party” 11 where there is no court-
15    ordered judgment on the merits, judicially ordered settlement, or other judicially
16    recognized change in the legal relationship between the parties, the moving party bears the
17    burden of establishing, among other criteria, that (1) “the lawsuit was a catalyst motivating
18    the defendants to provide the primary relief sought,” and (2) “the lawsuit had merit.” Id.
19    at 567, 575; Tipton-Whittingham v. City of L.A., 34 Cal. 4th 604, 608 (2004). To qualify
20    as a catalyst, the lawsuit must have been “a substantial causal factor” contributing to
21    Defendant’s change of conduct. Henderson v. J.M. Smucker Co., No. CV 10–4524–GHK
22    (VBKx), 2013 WL 3146774, at *4 (C.D. Cal. June 19, 2013) (quoting Graham, 34 Cal. 4th
23    at 573). “If plaintiff’s lawsuit induced defendant’s response or was a material factor or
24    contributed in a significant way to the result achieved then the plaintiff has shown the
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26
      Urbaniak v. Newton, 19 Cal. App. 4th 1837, 1844 (1993) (“the benefit obtained must be
27    ‘secure’ before the fees may be awarded.”).
28
      11
         “[T]he terms ‘prevailing party’ and ‘successful party,’ as used in section 1021.5, are
      synonymous.” Graham, 34 Cal. 4th at 570.


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 1    necessary causal connection.” Californians for Responsible Toxics Mgmt. v. Kizer, 211
 2    Cal. App. 3d 961, 967 (citations omitted). The court’s factual finding that the plaintiff’s
 3    lawsuit was a catalyst must be supported by “substantial evidence.” Godinez v.
 4    Schwarzenegger, 132 Cal. App. 4th 73, 92 (2005). “[T]he chronology of events may raise
 5    an inference that the litigation was the catalyst for the relief.” Hogar v. Cmty. Dev. Com.
 6    of City of Escondido, 157 Cal. App. 4th 1358, 1366 (2007). Once the inference has been
 7    raised, defendants must present evidence to rebut it. See Kizer, 211 Cal. App. 3d at 968.
 8    The California Supreme Court has recognized that a defendant “knows better than anyone
 9    why it made the decision that granted the plaintiff the relief sought, and the defendant is in
10    the best position to either concede that the plaintiff was a catalyst or to document why the
11    plaintiff was not.” Graham, 34 Cal. 4th at 573.
12          Here, although it is undisputed that Plaintiff’s litigation objective has been achieved
13    through Defendant’s addition of the word “Flavored” on the Beverages’ labels, (SUF P43,
14    P44, P45), Plaintiff has not shown his suit was the “catalyst” for that outcome. In arguing
15    that his lawsuit caused Defendant to change its labels, Plaintiff points to the timeline
16    leading up to and including the filing of his complaint. Specifically, on October 25, 2018,
17    Plaintiff asserts that he served on Defendant a letter, (SUF P31 (hereinafter the “Demand
18    Letter”)), demanding Defendant “[r]emove the misleading characterizing terms from the
19    [Beverages’] labels, or add the corrective language” such as “natural lime flavor” or “lime
20    flavored.” (SUF Ex. P11 at 7-13). On July 19, 2019, when defendant had not responded
21    to the Demand Letter, (SUF P32), Plaintiff filed the complaint in this case, (ECF No. 1),
22    and Defendant thereafter changed its labels to add the word “Flavored.”12
23          Because Defendant achieved Plaintiff’s litigation objective after this lawsuit
24    commenced, the burden has shifted to Defendant to present “enough convincing
25    contemporaneous evidence to rebut the inference from the chronology of events.”
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      12
        The Parties dispute the exact date Defendant changed the labels. However, both parties
27
      agree that the updated labels were available on retail shelves after July 19, 2019. See (SUF
28    P37, D107).



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 1    MacDonald v. Ford Motor Co., 142 F. Supp. 3d 884, 894 (N.D. Cal. 2015). To meet this
 2    burden, Defendant does not dispute Plaintiff’s timeline. However, it argues that the
 3    decision to change the challenged label occurred before Plaintiff’s proffered timeline
 4    commenced and argues based on that timeline that the evidence “presented conclusively
 5    confirms that the lawsuit did not motivate Bai to update its labels.” (ECF No. 108-1 at 45).
 6    In support of its argument, Defendant submits the declaration of Diane Malunowicz, who
 7    is the director of regulatory and scientific affairs for Keurig Dr Pepper, Inc. (“KDP”) and
 8    heads KDP’s regulatory group responsible for reviewing the products’ labels. (SUF Ex.
 9    D1 ¶ 3). The predecessor of KDP, Dr Pepper Snapple Group, acquired Bai in January 2017
10    and reviewed the Beverages’ labels.       (SUF D89; Ex. D1 ¶ 5).        According to Ms.
11    Malunowicz, in or about September 2017, Defendant’s regulatory group “decided to add
12    the word ‘Flavored’ after the named fruit(s) on the front panel of the label” for both the
13    Cocofusion beverages as well as Bai Bubbles. (SUF Ex. D1 ¶ 6). That same month,
14    Defendant approved finished labels for Bai Bubbles including the word “Flavored” on the
15    front panel. (SUF Ex. D1 ¶ 7; Ex. D1 at 10–13). For the Cocofusion beverages, Ms.
16    Malunowicz declares that Defendant waited to update the labels because Defendant was
17    also in the process of updating the Beverages’ formulas, and therefore sought to make all
18    the changes to the Cocofusion beverages at once to “avoid introducing multiple new
19    versions of the product labels within a short timeframe.” (SUF Ex. D1 ¶ 9). In “early
20    2019,” once the formula update was complete, Defendant began approving updates to the
21    labels. (SUF Ex. D1 ¶ 10). By April 10, 2019, Defendant had issued LINs for all three
22    Cocofusion flavors still in production. (SUF D100–D103). Those LINs proposed adding
23    the word “flavored” to the Beverages’ labels. (SUF D95, D99–D103). Defendant then
24    issued the finalized labels for the Cocofusion beverages with the addition of the word
25    “Flavored” by July 16, 2019. (SUF D104). Ms. Malunowicz declares that neither the
26    Demand Letter “nor Plaintiff’s lawsuit influenced or accelerated Bai’s decision to update
27    the Bai Antioxidant Cocofusion labels to include the word ‘Flavored.’” (SUF Ex. D1 ¶ 18).
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 1          Defendant also submits a declaration from Adam Fox, the supply chain manager for
 2    KDP and Defendant. (SUF Ex. D2). Mr. Fox is responsible for “taking updated product
 3    labels that have been approved by the relevant stakeholders and putting them into
 4    production with our production facilities.” (SUF Ex. D2 ¶ 2). Mr. Fox declared that
 5    Defendant placed its first order for the new labels including the word “Flavored” on July
 6    15, 2019. (SUF Ex. D2 ¶ 6). Mr. Fox also declared that neither the Demand Letter “nor
 7    Plaintiff’s lawsuit influenced or accelerated Bai’s rollout of the Bai antioxidant Cocofusion
 8    products with the updated labels.” (SUF Ex. D2 ¶ 12).
 9          The Court finds that Defendant’s contemporaneous evidence rebuts the inference
10    arising from Plaintiff’s alleged chronology of events. Taken together, Ms. Malunowicz
11    and Mr. Fox’s declarations demonstrate that Defendant decided to add the word “Flavored”
12    to the Cocofusion beverages’ labels before Plaintiff commenced this lawsuit. Contrary to
13    Plaintiff’s assertion, Defendant’s timeline is no coincidence. Defendant decided to update
14    the Cocofusion labels at the same time it decided to update the Bai Bubbles labels, which
15    occurred immediately after KDP acquired Bai in 2017. It is also significant that Defendant
16    submitted declarations from the individuals responsible for implementing changes to the
17    Beverages’ labels. Cf. MacDonald, 142 F. Supp. 3d at 893 (finding defendant’s evidence
18    insufficient in part because it failed to provide “declarations from the final decision makers
19    who actually recommended and approved the 2014 recall. What role this lawsuit played in
20    their decisions is unknown.”). In addition to the declarations, Defendant submitted LINs
21    that substantiated Ms. Malunowicz and Mr. Fox’s sworn statements. In sum, based on the
22    foregoing evidence, the Court finds that Plaintiff’s lawsuit was not a catalyst to motivate
23    Defendant to update the Cocofusion beverages’ labels. Accordingly, Plaintiff is not a
24    “prevailing” or “successful party” under CCP § 1021.5.
25    //
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 1    IV.      CONCLUSION
 2             For the foregoing reasons, the Court GRANTS Defendant’s Motion for Summary
 3    Judgment and DENIES Plaintiff’s Motion for Summary Judgment. All pending deadlines
 4    and hearings in this action are vacated. Each side shall bear its own fees and costs.
 5    Defendant shall submit a proposed form of judgment within seven days of the date of this
 6    order.
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 8             IT IS SO ORDERED.
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10    DATED:
                   August 19, 2022
11                                                    HON. SHERILYN PEACE GARNETT
12                                                    UNITED STATES DISTRICT JUDGE

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